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      7   JUSTIN HAYNES
      8
      9               IN THE UNITED STATES OF DISTRICT COURT FOR THE
    10                          EASTERN DISTRICT OF CALIFORNIA
    11
    12    UNITED STATES OF AMERICA,
                                                        Case No.: 2:10-cr-162 JAM
    13                               Plaintiff,
    14                                                   ORDER GRANTING
                        v.                               WAIVER OF DEFENDANT
    15                                                   JUSTIN HAYNES
    16    JUSTIN HAYNES                                  PERSONAL APPEARANCE
    17                  Defendant.
    18
    19           After reviewing the Waiver of Appearance executed by defendant Justin Haynes,
    20    the court finds that the defendant waives the right to be present in person in open court
    21    upon the hearing of any motion or other proceeding in this cause, including, but not
    22    limited to, when the case is ordered set for trial, when a continuance is ordered, and when
    23    any other action is taken by the court before or after hearing, except upon arraignment,
    24    plea, trial confirmation hearing, impanelment of jury, during trial, and imposition of
    25    sentence.   The Court will proceed in the defendant’s absence and finds that the
    26    defendant’s interests will be deemed represented at all times by the presence of his
    27    attorney, the same as if defendant were personally present; and will order the defendant

    28    to be present in court ready for hearing any day and hour the court may fix in his absence.




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      1          The Court finds that the defendant has been informed of his rights under Title 18 U.S.C.
      2   §§ 3161-3171 (Speedy Trial Act), and that the defendant’s attorney is authorized to set times and
      3   delays under the Act without defendant being present.
      4
      5   IT IS SO ORDERED
      6
      7   DATED: 3/5/2012
      8                                               /s/ John A. Mendez_____________________
                                                      HON. JOHN A MENDEZ
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